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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

 Morgan                                                        Civil Action No. 15-00667

 versus                                           Magistrate Judge Carol B. Whitehurst

 Prudential Insurance Co. Of                                    By Consent of the Parties
 America

                                      JUDGMENT

          After a trial on the merits and in accordance with the oral reasons assigned on

 the 3rd day of November, 2016,

          IT IS ORDERED that judgment be entered pursuant to Rule 52(c) of the

 Federal Rules of Civil Procedure in favor of Anthony Louis Morgan and against

 Cross-claimants, Daniel Edward Aubrey, David Michael Aubrey, Michael Brett

 Morgan and the Guardian ad litem of minor M.A.D.

          IT IS FURTHER ORDERED that Prudential Life Insurance Company is to

 pay to Anthony Louis Morgan, $100,000.

          IT IS FURTHER ORDERED that the Clerk of Court is to disburse the funds

 deposited into the Registry of the Court by Prudential Life Insurance Company to

 Anthony Louis Morgan through his counsel of record, James P. Lambert.

          IT IS FURTHER ORDERED that Cross-claimants, Daniel Edward Aubrey,

 David Michael Aubrey, Michael Brett Morgan and the Guardian ad litem of minor
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 M.A.D. are taxed with costs pursuant to Rule 54(d) of the Federal Rules of Civil

 Procedure.

       THUS DONE AND SIGNED this 7th day of November, 2016.
